      Case 2:21-cv-00889-GMS Document 16 Filed 10/28/21 Page 1 of 2



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 6                        IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8
 9   Efren Medina,                                  No. CV-21-00889-PHX-GMS
10                  Petitioner,                     ORDER
11   v.                                             DEATH-PENALTY CASE
12   David Shinn, et al.,
13                  Respondents.
14
15           Before the Court is Petitioner Efren Medina’s Motion to Continue the November
16   19, 2021, hearing (Doc. 15) on Respondents’ Motion to Preclude Victim Contact (Doc.
17   10). Respondents do not oppose the hearing’s continuance (Doc. 15 at 2). Good cause
18   appearing,
19           IT IS HEREBY ORDERED granting Petitioner Medina’s Motion to Continue
20   Hearing (Doc. 15).
21           IT IS FURTHER ORDERED that the in-person hearing on Respondents’ Motion
22   to Preclude is reset from November 19, 2021 to December 6, 2021 at 11:00 a.m., before
23   Chief District Judge G. Murray Snow, U.S. District Court, Courtroom 601, 401 W.
24   Washington Street, Phoenix, AZ 85003.
25
26   / / /
27   / / /
28   / / /
      Case 2:21-cv-00889-GMS Document 16 Filed 10/28/21 Page 2 of 2



 1
           IT IS FURTHER ORDERED affirming all remaining orders in the initial order
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     setting a hearing on the motion to preclude (Doc. 13) and as amended (Doc. 14).
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           Dated this 28th day of October, 2021.
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     cc:
27   Attorney General’s Office of Victim Services, 2005 N. Central Ave., Phoenix, AZ 85004
28   Arizona Voice for Crime Victims, P.O. Box 12722, Scottsdale, Arizona, 85267

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